 Case 1:09-cr-00354-PLM           ECF No. 55, PageID.166             Filed 01/07/10   Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:09-cr-00354
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
ALEJANDRO GUTIERREZ-DE              )
LOS SANTOS ,                        )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on January 6, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Alejandro Gutierrez-De Los Santos entered a plea of guilty to Count 10 of the

Superseding Indictment in exchange for the undertakings made by the government in the written

plea agreement. In Count 10 of the Superseding Indictment, defendant is charged with falsely

making counterfeit immigration documents in violation of 18 U.S.C. § 1546(a). On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
 Case 1:09-cr-00354-PLM            ECF No. 55, PageID.167         Filed 01/07/10      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count 10 of the Superseding

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: January 7, 2010                                  /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                -2-
